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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 19-80240-CIV-ALTMAN/Brannon

  SOUTH SPANISH TRAIL, LLC,

         Plaintiff,

  v.

  GLOBENET CABOS SUBMARINOS AMERICA,
  INC., et al.,

          Defendants.

  _____________________________________/

                                                ORDER

         THIS MATTER comes before the Court upon the Motion to Dismiss (the “Motion”) [ECF

  No. 27] filed by the Third-Party Defendant, the United States of America, on April 5, 2019. That

  Motion argues both that the Third-Party Plaintiff, Globenet Cabos Submarinos America, Inc.

  (“Globenet”), fails to state a claim against the United States, and that, in any event, the Court does

  not have subject matter jurisdiction to hear the claim. Globenet filed its Response in Opposition

  (the “Response”) [ECF No. 41] on May 3, 2019, and the matter ripened on May 10, 2019, when

  the United States filed its Reply (the “Reply”) [ECF No. 43].

                                                The Law

         Pursuant to Federal Rule of Civil Procedure 12(b), a defendant may move for dismissal of

  a claim based on one or more of seven specific defenses: (1) lack of subject matter jurisdiction;

  (2) lack of personal jurisdiction; (3) improper venue; (4) insufficiency of process; (5) insufficiency

  of service of process; (6) failure to state a claim upon which relief can be granted; and (7) failure

  to join a party under Rule 19. See FED. R. CIV. P. 12(b).
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          “A motion to dismiss is only granted when the movant demonstrates ‘beyond doubt that

  the plaintiff can prove no set of facts in support of his claim which would entitle him to relief.’”

  Harper v. Blockbuster Entertainment Corp., 139 F.3d 1385, 1387 (11th Cir. 1998) (citing Conley

  v. Gibson, 355 U.S. 41, 45–46 (1957)). “On a motion to dismiss, the facts stated in appellant’s

  complaint and all reasonable inferences therefrom are taken as true.” Stephens v. Dep’t of Health

  and Human Servs., 901 F.2d 1571, 1573 (11th Cir. 1990).

          A motion to dismiss under Rule 12(b)(1) may attack subject matter jurisdiction either

  facially or factually. Lawrence v. Dunbar, 919 F.2d 1525, 1528–29 (11th Cir. 1990). On a facial

  challenge, the Court must, as with other Rule 12(b) motions, limit its review to the factual

  allegations in the complaint—accepting well-pled allegations as true. Id. A factual attack,

  however, challenges “the existence of subject matter jurisdiction in fact” and requires that the

  Court examine materials outside of the pleadings, such as testimony, declarations, and affidavits,

  to ensure the proper exercise of its jurisdiction. Id.

          “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain sufficient

  factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

  “Threadbare recitals of the elements of a cause of action, supported by mere conclusory statements,

  do not suffice.” Iqbal, 556 U.S. at 679 (quoting Twombly, 550 U.S. at 555).

                                                 The Facts

          In 1927, Congress enacted legislation that authorized the federal government to purchase

  or condemn private lands for the purpose of constructing the “Intracoastal Waterway,” a

  submerged tract of land that runs from Trenton, New Jersey, to Brownsville, Texas. See Answer ¶

  8. Acting on this authority, the United States initiated condemnation proceedings in a number of




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  federal courts along the eastern seaboard—all with an eye towards acquiring rights-of-way over

  the lands through which the Intracoastal Waterway now runs. See id. ¶ 9. These actions were on

  the whole successful. As relevant here, in 1935, this Court entered a final judgment, in which it

  transferred to the United States the rights to a narrow strip of land in Palm Beach County, Florida

  (the “Subject Property”). See id. ¶ 10. It is undisputed that, as a part of this judgment, the prior

  owners of this land received “just compensation” from the federal government. See id.

         Sixty-eight years later, in 2003, the United States, acting through the Army Corps of

  Engineers, granted Globenet a Consent to Easement (“Consent”) over a portion of this land. See

  Answer Ex. D (the “Consent”) [ECF No. 24-4]. That Consent gave Globenet a right-of-way,

  commensurate with the government’s own right-of-way, to lay fiber optic cable over a sliver of

  the Intracoastal Waterway. See Answer ¶¶ 15–16. The Consent was subject to a number of

  conditions—one of which required Globenet to obtain both the consent of the State of Florida and

  of the owners of the property on which the Intracoastal had been built. See Consent ¶ 1. Globenet

  acquired the State’s consent later in 2003, when Florida’s Board of Trustees of the Internal

  Improvement Trust Fund granted Globenet an easement to lay fiber optic cable over the Subject

  Property. See Answer Ex. E (the “Florida Consent”) [ECF No. 25-5]. Thus, as of 2003, Globenet

  had obtained, from both the United States and the State of Florida, the right to lay its fiber optic

  cable over the Subject Property.

         South Spanish Trail is a Florida limited liability company that claims to have purchased

  the Subject Property in 2016. See generally Notice of Removal [ECF No. 1]. In 2018, it brought

  suit against Globenet in the 15th Judicial Circuit in and for Palm Beach County, alleging that

  Globenet has neither an interest in the Subject Property nor any right to lay its cable there. See




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  Notice of Removal Ex. 3 [ECF No. 1-3].1 Globenet answered on December 23, 2018, and, in

  addition to responding to South Spanish Trail’s complaint, brought its own claims against both

  South Spanish Trail and the United States. See Notice of Removal Ex. 4 [ECF No. 1-4]. On March

  25, 2019, Globenet amended its Answer and Third-Party Complaint. See Answer [ECF No. 24].

         Against the United States, Globenet asserts only what it calls a “Breach of Easement”

  claim. See Answer ¶¶ 57–61. That claim alleges that the “United States breached its easement

  obligations owed to Globenet,” id. ¶ 59, and that this “breach deprived Globenet of a legitimate

  constitutionally protected interest,” id. ¶ 61. Specifically, Globenet says that the United States

  engaged in a “taking” without just compensation, in violation of the Fifth Amendment to the U.S.

  Constitution. See Response at 9, 11.

         On April 5, 2019, the United States moved to dismiss Globenet’s Third-Party Complaint.

  See generally Motion. In its Motion, the United States argues both that the Court lacks subject

  matter jurisdiction over the claim, see id. at 2, and that Globenet fails to state a claim upon which

  relief may be granted, see id. at 9. Specifically, the United States says that Globenet’s “Breach of

  Easement” claim, properly construed, “is nothing more than a breach of contract claim.” Mot. at 2

  (cleaned up). Then, citing Alabama Rural Fire Ins. Co. v. Naylor, 530 F.2d 1221 (5th Cir. 1976),

  the United States contends that this Court lacks subject matter jurisdiction over breach of contract

  claims against the federal government—even where those claims seeks only specific performance.

  See id. Finally, noting that there are no set of circumstances under which Globenet could plead a

  viable contract claim, the United States asks this Court to dismiss Globenet’s Third-Party

  Complaint with prejudice. See id. at 8.




  1
   In its complaint against Globenet, South Spanish Trail raises only state-law claims. See Notice
  of Removal [ECF No. 1].

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         Globenet responds that it has, in fact, stated a valid Takings Clause claim under the Fifth

  Amendment. See Response at 10 (“In its amended third-party claim, Globenet asserts a federal

  takings claim against the United States related to the Government’s breach of its obligations under

  the [Consent].” (citing Answer ¶¶ 57–61)). Globenet then surveys the jurisprudential record from

  other circuits and argues that, where a contract claim implicates a constitutional question—such

  as an alleged violation of the Takings Clause—a district court does have jurisdiction over that

  claim. See Response at 11 (citing Transohio Sav. Bank v. Dir., Office of Thrift Supervision, 967

  F.2d 598, 610 (D.C. Cir. 1992)).

                                               Analysis

         I.      Contract Claims Against the United States

         The United States is generally immune from suit unless it has expressly waived that

  immunity by statute. See Zelaya v. United States, 781 F.3d 1315, 1322 (11th Cir. 2015). In 1976,

  Congress amended the Administrative Procedure Act (the “APA”) so as to waive sovereign

  immunity for a broad range of suits that seek non-monetary relief from federal agencies or officials.

  See 5. U.S.C. § 702. But this waiver is subject to certain well-specified exceptions. Nothing in the

  APA, for example, “confers authority to grant relief if any other statute that grants consent to suit

  expressly or impliedly forbids the relief which is sought.” Id. Similarly, the APA only waives

  sovereign immunity for actions “for which there is no other adequate remedy.” Id. § 704. And it

  is precisely these two exceptions to the APA’s waiver of sovereign immunity that bar Globenet’s

  claim here.

         In 1855, more than 100 years before the APA was amended, Congress created the United

  States Court of Claims to adjudicate actions for money damages against the United States. See 10

  Stat. 612. Twenty-two years later, in 1877, Congress passed the Tucker Act, which expanded the




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  jurisdiction of the Court of Claims to include all “claims founded upon the Constitution of the

  United States or any law of Congress . . . or upon any contract, expressed or implied with the

  Government of the United States . . . against the United States” in excess of $1,000. See 24 Stat.

  505. In its present form, the Court of Federal Claims—the successor to the Court of Claims—has

  “jurisdiction to render judgment upon any claim against the United States founded either upon the

  Constitution, or any Act of Congress or any regulation of an executive department, or upon any

  express or implied contract with the United States, or for liquidated or unliquidated damages in

  cases not sounding in tort” in excess of $10,000. See 28 U.S.C. § 1491; 28 U.S.C. § 1346.

         In 1976, the old Fifth Circuit made clear that § 702 of the APA did not waive sovereign

  immunity for breach of contract claims against the United States—even those that seek only

  specific performance. See Naylor, 530 F.2d at 1223.2 As such, a contract claim against the United

  States can be maintained only under the auspices of the Tucker Act. And, under that Act, the Court

  of Federal Claims has exclusive jurisdiction over all contract claims in excess of $10,000 against

  the United States. Id. at 1229–30.

         Admittedly, twelve years after Naylor, the Supreme Court, in dicta, infused this analysis

  with some confusion. See Bowen v. Massachusetts, 487 U.S. 879 (1988). In Bowen, the Supreme

  Court acknowledged, in a footnote, that it “is often assumed that the Claims Court has exclusive

  jurisdiction of Tucker Act claims for more than $10,000.” Id. at 910 n. 48. But “[t]hat assumption,”

  the Court said, “is not based on any language in the Tucker Act.” Id.

         The Eleventh Circuit has not had occasion to reconsider Naylor in light of Bowen.3 That



  2
    Decisions of the former Fifth Circuit issued prior to October 1, 1981 are binding as precedent in
  this Circuit. See Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir. 1981) (en banc).
  3
    The Eleventh Circuit has cited Bowen only twice. In Parker v. King, 935 F.2d 1174 (11th Cir.
  1991), the court, referring to Bowen’s footnote 48, held that, despite the footnote’s “language, we
  conclude that Bowen does not overturn previous authority establishing the Tucker Act as the


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  said, because Bowen did not involve a contract claim, its holding does not require an abrogation

  of Naylor—even as it might justifiably invite some speculation about Naylor’s future. Cf.

  Transohio, 967 F.2d at 612 (noting that Bowen’s discussion of exclusive jurisdiction for Tucker

  Act claims was dicta because Bowen did not involve a contract claim). As such, this Court must

  follow Naylor as the governing law of this Circuit. See Inversiones y Procesadora Tropical

  INPROTSA, S.A. v. Del Monte Int’l GmbH, 921 F.3d 1291, 1301 (11th Cir. 2019) (courts must

  follow a decision of a prior panel of this Court even when a subsequent Supreme Court opinion

  weakens that decision); accord Tobinick v. Novella, 884 F.3d 1110, 1118 (11th Cir. 2018) (holding

  that courts are bound to follow a Supreme Court decision that undermines circuit precedent to the

  point of abrogation). In any event, Globenet does not argue either that Bowen abrogated Naylor or

  that Naylor is, for any other reason, not the governing law of this Circuit. In sum, then, as Naylor

  unambiguously held, the Court of Federal Claims has exclusive jurisdiction over contract claims—

  whether for specific performance or not—against the United States.

         This rather straightforward conclusion does not end the analysis, however, because

  Globenet has not raised a standalone contract claim. Instead, Globenet has, at least at first glance,

  brought a constitutional claim that, it says, is grounded in contract. And, on this question—whether

  the district courts have jurisdiction over constitutional claims founded ex contractu—the federal

  circuits are decidedly split. Compare Transohio, 967 F.2d at 609 (district courts have jurisdiction

  over constitutional claims founded in contract), with Tucson Airport Auth. v. Gen. Dynamics Corp.,

  136 F.3d 641, 647–48 (9th Cir. 1998) (district courts do not have jurisdiction over constitutional



  exclusive jurisdictional basis for FLSA claims against the government.” Id. at 1177. And, in United
  States v. 1461 West 42nd St., Hialeah, Fla., 251 F.3d 1329 (11th Cir. 2001), the court cited Bowen,
  admittedly in dicta, for the proposition that “claims for equitable relief, such as the return of
  property or rents received from property during a constitutional violation, do not impinge upon
  sovereign immunity.” Id. at 1340. Neither decision controls here.


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  claims founded in contract). Adding to the degree of difficulty, this appears to be a question the

  Eleventh Circuit has never tackled before—and, of course, it is the question upon which

  Globenet’s claim rests. Fortunately, this Court need not answer this question here because

  Globenet has failed to state a viable constitutional claim.

         II.     The Takings Clause

         In Count VII of its Third-Party Complaint—the only count against the United States—

  Globenet avers that the United States “deprived Globenet of a legitimate constitutionally protected

  property right in violation of Globenet’s due process rights under the United States Constitution.”

  Answer ¶ 61. In its Response, Globenet explains that this allegation refers to what it says is a clear

  violation of the Fifth Amendment’s Takings Clause. See Response at 15.

         The Takings Clause proscribes the government from taking private property “for public

  use, without just compensation.” U.S. Const. amend. V. Notably, “[i]f the government has

  provided an adequate process for obtaining compensation,” a plaintiff suing under the Takings

  Clause must first exhaust his remedies under that process before filing suit in federal court. See

  Horne v. Dep’t of Agric., 569 U.S. 513, 525 (2013). “Stated differently, a Fifth Amendment claim

  is premature until it is clear that the Government has both taken property and denied just

  compensation.” Id. Because the Court of Federal Claims has exclusive jurisdiction over Tucker

  Act claims, and given that “just compensation” refers to monetary remuneration, “a claim for just

  compensation under the Takings Clause must be brought to the Court of Federal Claims in the first

  instance.” Eastern Enterprises v. Apfel, 524 U.S. 498, 520 (1998).

         To be sure, there are exceptions to this general rule. In Eastern Enterprises, for example,

  the Supreme Court was faced with a plaintiff who claimed that the Coal Act effectuated an

  unconstitutional regulatory taking of its property. See id. at 517–20. The Court agreed. Noting




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  that the “payments mandated by the Coal Act, although calculated by a Government agency, are

  paid to the privately operated Combined Fund,” it concluded that “it cannot be said that monetary

  relief against the Government is an available remedy.” Id. at 521. Accordingly, the Court held that

  “the ‘presumption of Tucker Act availability must be reversed where the challenged statute, rather

  than burdening real or physical property, requires a direct transfer of funds’ mandated by the

  Government.” Id. (citation omitted). Ultimately, then, the Court allowed the plaintiff to pursue, in

  a federal district court, a declaratory judgment action that challenged the Coal Act’s statutory

  scheme. Id. at 522. In saying so, the Court found that, through the Coal Act, Congress had

  “withdrawn the Tucker Act grant of jurisdiction.” Id. at 520.

         More recently, the Court applied this statutory exception to a case brought under the

  Agricultural Marketing Agreement Act of 1937 (the “AMAA”), which requires raisin growers to

  turn over a percentage of their crop to the federal government or pay a fine. See Horne, 569 U.S.

  at 516. When a group of raisin growers refused to turn over their crop, the United States brought

  an enforcement action against them, seeking $650,000 in fines. See id. In an affirmative defense,

  the raisin growers argued that the fine constituted an unconstitutional taking. See id. Examining

  the purposes of the AMAA, the Court found that it displaced Tucker Act jurisdiction with a

  “comprehensive remedial scheme” that allowed raisin growers to “challenge the content,

  applicability, and enforcement of marketing orders.” Id. at 527. In so holding, the Court noted that

  “it would make little sense to require the party to pay the fine in one proceeding and then turn

  around and sue for recovery of that same money in another proceeding.” Id. at 528 (citing Eastern

  Enterprises, 514 U.S. at 520).

         But, unlike the plaintiff in Eastern Enterprises or the raisin growers in Horne, Globenet

  has not challenged any specific statutory scheme that even arguably displaces Tucker Act




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   jurisdiction. See Eastern Enterprises, 524 U.S. at 517–20 (challenge under the Coal Act); accord

   Horne, 569 U.S. at 516 (challenge under the AMAA). Instead, Globenet attempts to plead “a

   classical ‘taking,’” in which the Government has allegedly taken the property itself—not through

   any regulation. See United States v. Security Indus. Bank, 459 U.S. 70, 77 (1982). And, in classical

   takings, the law is pellucid: before bringing suit in federal district court, a party must first seek

   “just compensation” in the Court of Federal Claims. Eastern Enterprises, 524 U.S. at 520.

   Although this requirement is not “strictly jurisdictional,” it is a prerequisite to Globenet’s claim.

   See Horne, 569 U.S. at 526.

           Because it is undisputed that Globenet did not first seek “just compensation” in the Court

   of Federal Claims, its Takings Clause claim is premature and must be dismissed.4 Cf. Ungaro-

   Benages v. Dresdner Bank AG, No. 01-2547-CIV, 2003 WL 25729923, at *2 n.9 (S.D. Fla. Feb.

   20, 2003) (holding that the proper remedy for a Takings Clause violation is to seek just

   compensation in the Court of Federal Claims), aff'd, 379 F.3d 1227 (11th Cir. 2004). And, without

   a Takings Clause claim, Globenet’s Third-Party Complaint avers nothing more than a breach of

   contract by the United States—a claim that, under Naylor, Globenet can only bring in the Court of

   Federal Claims. See Naylor, 530 F.2d at 1223. In sum, Globenet has failed to state a viable

   constitutional Takings Clause claim, see FED. R. CIV. P. 12(b)(6) and this Court lacks subject




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    Even had Globenet sought “just compensation” in the Court of Federal Claims, its Takings
   Clause claim would nevertheless fail to meet the strictures of FED. R. CIV. P. 8(a), because its
   complaint does not plausibly establish the elements of a Takings Clause violation. A Takings
   Clause claim has two elements: (1) the taking of private property for public use; (2) without just
   compensation. See Horne, 569 U.S. at 525–26. Although Globenet has arguably alleged that it
   maintains a proprietary interest in that portion of the Intracoastal over which it has laid its fiber
   optic cable, see Answer ¶ 61, it has made absolutely no showing that the government has taken its
   property, that this “taking” was for public use, or that the “taking” was without just compensation.
   See generally Answer.


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   matter jurisdiction to hear the remaining contract claim, see FED. R. CIV. P. 12(b)(1). For these

   reasons, Globenet’s Third-Party Complaint must be dismissed.

          III.    Leave to Amend

          The United States asks the Court not to permit Globenet to amend its Third-Party

   Complaint. See Mot. at 7–9. In response, Globenet says, somewhat nonsensically, that it should be

   permitted to amend because the government’s argument on this point “hinges on its incorrect

   contention that the U.S. Easement ‘does not grant any property interests.’” See Response at 16.

          But this Court’s deadline to amend pleadings expired on May 14, 2019, see Amended

   Scheduling Order [ECF No. 39], Globenet has never moved to extend that deadline, and Globenet

   has not demonstrated “good cause” for any such extension. See FED. R. CIV. P. 16(b)(4) (“A

   schedule may be modified only for good cause and with the judge’s consent.”).5 After all, even

   were the deadline extended, Globenet could do no more than properly allege the elements of a

   Takings Clause violation. But this hypothetically amended third-party complaint would inevitably

   still fail to state a viable Takings Clause claim because, as discussed, Globenet has not sought “just

   compensation” in the Court of Federal Claims.6 The Court is therefore unpersuaded by Globenet’s

   request for leave to amend.

          And, even if Globenet were to amend its Third-Party Complaint to plead a procedural due




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     South Spanish Trail, on the other hand, did file an Unopposed Motion for Extension of Time to
   Amend Pleadings on May 14, 2019. [ECF No. 45]. In light of the Court’s ruling, however, that
   motion will be denied as moot.
   6
     Even under the more permissive standard of FED. R. CIV. P. 15, therefore, Globenet’s petition for
   leave to amend would be denied as futile. See Foman v. Davis, 371 U.S. 178, 182 (1962) (noting
   that “the grant or denial of an opportunity to amend is within the discretion of the District Court,”
   and concluding that leave should not be granted where, as here, it is clear from the complaint that
   any amendment would be futile).


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   process claim,7 this hypothetical amendment would likewise be futile. The three elements of a

   procedural due process claim are: “(1) deprivation of a constitutionally protected property interest,

   (2) governmental action; (3) and constitutionally inadequate process.” Miccosukee Tribe of Indians

   of Fla. v. United States, 716 F.3d 535, 559 (11th Cir. 2013) (citing Grayden v. Rhodes, 345 F.3d

   1225, 1232 (11th Cir. 2003)).

          Assuming arguendo that Globenet has a property interest in the Subject Property (an issue

   the Court does not reach), Globenet cannot plausibly allege that any deprivation of that property

   interest was due to governmental action. After all, the Consent Globenet received from the United

   States required Globenet both to obtain grants from the “owners of the fee” and to acquire “local

   consent” from the State of Florida. See Consent ¶ 1. South Spanish Trail, the putative, present-day

   “owner[] of the fee,” has, by this suit, challenged Globenet’s acquisition of that “consent”—a

   challenge that, as far as the Third-Party Complaint suggests, has absolutely nothing to do with the

   United States.

          Throughout its papers, Globenet only once describes what it perceives as the Government’s

   alleged breach of the Consent. Specifically, in its Response, Globenet claims that, “[i]n breach of

   its obligations under the U.S. Easement, the Government has encouraged Plaintiff’s dubious title

   claim by advising Plaintiff that the U.S. Easement does not grant Globenet an enforceable property

   right to use the federal easement.” Response at 9. As evidence of this so-called “encouragement,”

   Globenet cites the United States’ Motion to Dismiss [ECF No. 27], which, it goes without saying,

   was filed after Globenet filed its Third-Party Complaint [ECF No. 24]. It is almost tautological to

   note, however, that the averred, Government-sponsored deprivation could not possibly have



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    Globenet’s claim admittedly employs some of the well-trodden language of a procedural due
   process claim. See Answer ¶ 61. But its Response specifically disavows any construction of its
   complaint as raising anything but a Takings Clause claim. See generally Response.


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   actuated Globenet’s claim if, as Globenet suggests, it occurred after Globenet’s complaint was

   filed. 8 In any event, it is undisputed that the United States did not bring the “dubious title claim,”

   upon which Globenet’s deprivation claim so precariously rests. Indeed, Globenet appears to

   concede that the United States has, by acceding to Globenet’s rights over the Subject Property,

   done just the opposite:

           Here, there has been no effort by the Government to terminate its agreement with Globenet.
           To the contrary, the Government has affirmed that Globenet’s fiber optic cable is in the
           public interest and vital to national security and requires Globenet to advise it if any
           interruption in service will occur. ECF No. 24-1 Nor does the Government contend that
           Globenet has breached the parties’ agreement in any way.

           Response at 13–14.

           In other words, Globenet has not—and cannot—identify any governmental action that led

   to the alleged deprivation of its property interest. To the extent that Globenet was deprived of any

   such interest at all, its papers suggest that it was South Spanish Trail’s decision to file suit, not any

   action by the United States, that caused that deprivation. In short, even if the Consent did grant

   Globenet a protectable property interest, Globenet cannot plausibly allege that it has been deprived

   of that interest by the federal government. Put another way, Globenet can plead no set of facts that

   would constitute a viable Fifth Amendment claim against the United States.

           Accordingly, to the extent that Count VII of Globenet’s Third-Party Complaint alleges a

   constitutional claim, it is DISMISSED for failure to state a claim. And, insofar as County VII

   levies a breach of contract claim, it is DISMISSED for lack of subject matter jurisdiction. The




   8
     The only other piece of evidence to which Globenet refers in support of its “deprivation” theory
   is an email—which Globenet does not attach—between the Army Corp of Engineers and counsel
   for South Spanish Trail. See Response at 9. But, even under Globenet’s reading, that email does
   nothing more than lay out the parties’ respective rights under the consent. What that email does
   not do, however, is undertake a deprivation of Globenet’s rights or effectuate a taking of its
   property.

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   Clerk of Court is directed to TERMINATE the Third-Party Defendant, the United States of

   America.

          IV.     Remand

          The only basis for federal jurisdiction in this case was the Third-Party Complaint’s claim

   against the United States. With the Court’s dismissal of that claim, this case is little more than a

   state-law breach of contract action between two Florida entities. See generally Notice of Removal.

          The supplemental jurisdiction statute provides that “district courts may decline to exercise

   supplemental jurisdiction over a claim under subsection (a) if . . . (3) the district court has

   dismissed all claims over which it has original jurisdiction.” See 28 U.S.C. § 1367. The power to

   hear cases via pendent jurisdiction “need not be exercised in every case in which it is found to

   exist.” United Mine Workers of Am. v. Gibbs, 383 U.S. 715, 726 (1966). Supplemental jurisdiction

   “is a doctrine of discretion, not of plaintiff’s right.” Id. “Certainly, if the federal claims are

   dismissed before trial, even though not insubstantial in a jurisdictional sense, the state claims

   should be dismissed as well.” Id. The Court will follow the Supreme Court’s admonition and

   decline to exercise its discretionary jurisdiction over the parties’ remaining state-law claims here.

                                                 *******

          Accordingly, the Court hereby ORDERS and ADJDUGES as follows:

                  1. The United States’ Motion to Dismiss [ECF No. 27] is GRANTED. Globenet’s

                      Third-Party Claim against the United States is DISMISSED in accordance with

                      this Order.

                  2. The Third-Party Defendant, the United States of America, is TERMINATED.

                  3. The case is REMANDED to the 15th Judicial Circuit in and for Palm Beach

                      County, Florida.




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                 4. The Clerk of Court is directed to CLOSE this case.

                 5. Any pending motions are DENIED as moot.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 22nd day of July 2019.




                                                       _________________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE

   cc:   counsel of record




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